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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

UNITED STATES OF AMERICA
                                           Plaintiff,
v.                                                          Case No.: 1:21−cr−00239
                                                            Honorable Manish S. Shah
Daniel M Rosenbaum
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 17, 2023:


        MINUTE entry before the Honorable Manish S. Shah: Docket Entry [63] is
amended as follows: Time is excluded under the Speedy Trial Act until 8/17/23, without
objection, to serve the ends of justice. The delay is necessary to give the parties time for
effective preparation, which includes finalizing plea negotiations, and outweighs the
interests of the public and defendant in a speedy trial. Notices mailed. (psm, )




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